974 F.2d 1331
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jerry Wayne MOORE, Plaintiff-Appellant,v.Ridley BAIN, Attorney;  Fred W. Greene;  Ray T. Shurling;Mary Sue Terry, Defendants-Appellees.
    No. 92-6125.
    United States Court of Appeals,Fourth Circuit.
    Submitted:  April 30, 1992Decided:  September 2, 1992
    
      Jerry Wayne Moore, Appellant Pro Se.
      Ridley Bain, Lawrenceville, Virginia;  Mark Ralph Davis, OFFICE OF THE ATTORNEY GENERAL OF VIRGINIA, Richmond, Virginia, for Appellees.
      Before PHILLIPS and WILKINSON, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    OPINION
    
      1
      Jerry Wayne Moore appeals from the district court's order denying relief under 42 U.S.C. § 1983 (1988).  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Moore v. Bain, No. CA-90-766-AM (E.D. Va.  Dec. 16, 1991).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    AFFIRMED
    